Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 1 of 7

22-MJ-1539-DLC

AFFIDAVIT OF SPECIAL AGENT KRISTEN FELDMANN IN SUPPORT OF
AN_APPLICATION FOR A CRIMINAL COMPLAINT

I, Special Agent Kristen Feldmann of the Federal Bureau of Investigation (“FBI”), being
duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. Ihave been employed as an FBI Special Agent since 2021. I am currently assigned
to the Public Corruption and Civil Rights squad in the Boston Division, where I investigate public
corruption and civil rights offenses, including hate crimes. I am a graduate of the FBI Academy
in Quantico, Virginia, and I have received on-the-job training and attended courses sponsored by
the FBI and the Department of Justice on how to conduct investigations of violations of various
federal laws. During my career, I have been involved in many complex investigations. As part of
those cases, I have interviewed defendants, witnesses, and victims; conducted surveillance;
worked with confidential informants; and participated in investigations using court-authorized
interception of wire and electronic communications. I am a “federal law enforcement officer”
within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C).

2. I submit this affidavit in support of an application for a criminal complaint charging
Matthew Jordan LINDNER, born in 1984, of Texas, with Transmitting Interstate Threats, in
violation of 18 U.S.C. § 875(c).

3. The facts in this affidavit come from my personal observations and review of
records, my training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause to obtain a criminal complaint
Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 2 of 7

and does not set forth all of my knowledge about this matter.
PROBABLE CAUSE

Social Media Campaign Spread Misinformation Indicating that Boston Children’s
Hospital Doctors Perform Gender Affirmation Surgery on Children.

4. In or around August 2022, inaccurate information spread online regarding the
procedures that Boston Children’s Hospital (“BCH”) health care providers perform on children in
the transgender community. Social media accounts began sharing misinformation, falsely
claiming that BCH health care providers—namely, those affiliated with BCH’s Gender

Multispecialty Service—were performing hysterectomies and gender affirmation surgery on
patients who were under 18 years of age.' BCH personnel have indicated that BCH doctors do

not perform hysterectomies or gender affirmation surgery on patients under the age of 18.7

Victim 1 is a Physician Affiliated with the Fenway Institute ’s National LGBTQIA+ Health
Education Center.

5. The Fenway Institute is a Boston-based interdisciplinary center for research,
education, development, with a stated mission of optimizing health and well-being for sexual
gender minorities and those affected by HIV. The National LGBTQIA+ Health Education Center
(or the “Center”) is a component of The Fenway Institute that provides educational programs,

resources, and consultation to health care organizations with the goal of optimizing quality, cost-

' The terms “gender affirmation surgery” and “sex reassignment surgery” refer to
surgical procedures, or a series of procedures, that alter a transgender person’s physical
appearance and sexual characteristics to resemble those associated with their identified gender.

2 BCH providers have performed breast reduction procedures on minors with the
patients’ parents’ consent.
Case 1:22-cr-10354-WGY Document 2-1. Filed 12/02/22 Page 3 of 7

effective health care for lesbian, gay, bisexual, transgender, queer, intersex, asexual, and all sexual
and gender minority people. The Center is also located in Boston.

6. Victim 1 is a physician and faculty member at The National LGBTQIA+ Health
Education Center. Victim 1 specializes in sexual health issues, with a particular focus on gender
nonconforming youth. Victim 1 is an advocate for gender-affirming care and the use of puberty
blockers/hormones to delay puberty in gender-questioning youth. Over the past several months,
Victim 1 has been harassed and received threatening messages and calls because of Victim 1’s
professional experience providing care for gender nonconforming children and adolescents.

The National LGBTQIA+ Health Education Center Received a Voicemail Containing
Threats Targeting Victim 1.

7. On August 31, 2022, The National LGBTQIA+ Center’s main telephone line

received a call from a person with a male-sounding voice who was using telephone number (830)
xxx-1053 (hereinafter, “Ext. 1053”).? The caller left a voicemail in which he threatened to injure

and kill Victim 1 (hereinafter, the “Voicemail’”). The Voicemail is transcribed below:

You sick motherfuckers, you’re all gonna burn. There’s a group of
people on their way to handle [Victim 1].4 You signed your own
warrant, lady. Castrating our children. You’ve woken up enough
people. And upset enough of us. And you signed your own ticket.
Sleep well, you fuckin’ cunt.

8. In the Voicemail, the caller states that Victim 1 “signed [his/her] own warrant.”

Based on my training, experience, and review of the Merriam-Webster online dictionary, I know

3 A Fenway Institute representative indicated that The National LGBTQIA+ Health
Education Center received the call at 6:58 a.m.

4 Victim 1 is identified by last name.
Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 4 of 7

that the idiom, “to sign one’s own death warrant,” means to do something that will cause one’s
own death.

AT&T Records Indicate that LINDNER is the Subscriber for Ext. 1053.

9. AT&T records identify Ext. 1053’s subscriber as Matthew LINDNER, with a
billing address in Comfort, Texas, and the associated email address: mjlindner@gmail.com.
AT&T records identify LINDNER as the subscriber on additional lines connected to the Ext. 1053
account. Those records also list a specific address in Comfort, Texas (hereinafter, “Location 1”).>

10. AT&T toll records for Ext. 1053 indicate that on August 31, 2022, at 9:58 a.m.
(Eastern Time), the phone assigned to that number called the Center’s main telephone line. The
records indicate that the call lasted 41 seconds, which is consistent with the length of the Voicemail
containing threats targeting Victim 1.°

11. The AT&T toll records also indicate that in the approximately 8 minutes following
the Voicemail targeting Victim 1, the phone assigned Ext. 1053 also called 2 telephone numbers
assigned to a university in Rhode Island where Victim 1 is a faculty member. Additionally, during

this 8-minute period, the phone assigned Ext. 1053 called Victim 1’s former medical practice.

5 This address is known to law enforcement.

§ At this time, there is a discrepancy between the hour of the call as reported by Fenway
Institute personnel, and the hour of the call listed in the AT&T toll records. See Paragraph 7.
Based on my training and experience and the fact that Fenway Institute personnel and the AT&T
records are consistent regarding the fact that the call was received at a 58-minute mark and lasted
approximately 41 seconds, this sort of discrepancy regarding the hour of the call could have been
caused by the data being reported with an incorrect time zone.

4
Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 5 of 7

Location Data Links LINDNER to the Threats Targeting Victim 1.
12. Public and business records link LINDNER to three locations in or around Comfort,
Texas:

a. According to Texas Department of Motor Vehicles (“DMV”) records,
LINDNER resides at Location 1. This is consistent with AT&T records for the Ext. 1053 account,
as described in paragraph 9.

b. The Texas Workforce Commission is a governmental agency that maintains
employment records regarding Texas employees. That agency’s records indicate that LINDNER
is employed by Company 1, which is located at property in Comfort, Texas (hereinafter, “Location
2”).

c. Publicly available property records maintained by the Kendall County (TX)

Clerk’s Office indicate that LINDNER is co-owner of a property in Comfort, Texas (hereinafter,

“Location 3”).8 Texas DMV records indicate that the other co-owner of the land resides at that
property.

13. AT&T cell site data for Ext. 1053 indicate that on August 31, 2022, at 9:58 a.m.
(Eastern Time), the phone assigned Ext. 1053 used a cell tower assigned Cell Global Identity
(“CGI”) 310410-0544173-024. The AT&T cell site data also indicate that the cell tower “sector”
(i.e., the face of the cell tower) orientation was 240. Based on my training and experience and a

review of the cell site data, I know that this sector faces LINDNER’s residence as identified in

7 The name of Company | and its address are known to law enforcement.

8 The address of Location 3 is known to law enforcement.
5
Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 6 of 7

DMV and AT&T records (Location 1), place of employment (Location 2), and the property he co-
owns (Location 3). Based on my training and experience, I know that cell towers located in rural
areas can cover areas of up to 10 miles. The locations described in this paragraph are all within 4
miles of the cell tower used to transmit the threatening message.

LINDNER Owns Firearms Dealer Lindner Ammo, LLC.

14. According to Texas Secretary of State records, LINDNER is the managing member
and director of Lindner Ammo, LLC in Comfort, Texas. Records from the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (“ATF”) indicate that Lindner Ammo, LLC was a Federal
Firearms Licensee in 2019. Open-source Internet searches revealed that Ext. 1053 is associated
with Lindner Ammo, LLC.

LINDNER’s Voice Matches the Voice of the Person Who Threatened Victim 1.

15. On December 1, 2022, I viewed a video on Facebook.com associated with the
account “matty.lindner.5.” The video is approximately 1 minute and 23 seconds in duration. The
video depicts LINDNER—who I recognize from other known photos—recording himself talking
about an upcoming shooting or marksmanship competition. After comparing this video to the
Voicemail, I concluded that LINDNER is the person who made the threats targeting Victim 1.

[The remainder of this page is blank.]
Case 1:22-cr-10354-WGY Document 2-1 Filed 12/02/22 Page 7 of 7

CONCLUSION
16. Based on the foregoing, I submit there is probable cause to believe that that
Matthew Jordan LINDNER has violated 18 U.S.C. § 875(c).

Sworn to under the pains and penalties of perjury,

A
: Fn DAN
Kristen Feldmann
Special Agent

Federal Bureau of Investigation

Subscribed and sworn to telephonically pursuant to Fed. R. Crim. P. 4.1 on December 2, 2022,

HON. DONALD L. CA aS
UNITED STATES MAGISTRATE JUDG ed vk
